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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

 

ATLANTA DIVISION
DONNA CURLING, ET AL.,
Plaintiffs,
v. Civil Action No. 1:17-CV-2989-AT

BRAD RAFFENSPERGER, ET AL.,
Defendants.

 

 

COALITION PLAINTIFFS’ AMENDED NOTICE OF
RULE 30(b)(6) DEPOSITION OF GEORGIA’S SECRETARY OF STATE

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that Coalition Plaintiffs will take the deposition
by oral examination of the Georgia’s Secretary of State as permitted by Rule
30(b)(6) of the Federal Rules of Civil Procedure and applicable court orders in the
above-captioned matter and as set forth in Schedule A. This deposition will take
place on Tuesday, January 25, 2022, or on a mutually agreeable date, beginning at
9:30 a.m. EST, and will continue from day to day until completed. In light of the
current health issues around the country, the deposition will take place online by
videoconference, such that each participant may participate from a location of his
or her choosing. The deposition shall be taken by oral examination with written
and/or sound and visual record made thereof before a court reporter or other

officer authorized by law to administer oaths.
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Dated this 20th day of January, 2022.

/s/ Cary Ichter
Cary Ichter

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Robert A. McGuire, III
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SCHEDULE A
DEFINITIONS

The following words, terms, or phrases shall, for purposes of the Topics
below, have the meanings specified, unless otherwise expressly stated in each
request:

“All” and “each” shall be construed as all and each.

“And” as well as “or” are to be construed either disjunctively or conjunctively
as necessary to bring within the scope of the Topics all informationthat might
otherwise be construed to be outside their scope.

“Any” means each and every.

“Communication” shall mean any transmission of information by any means,
including without limitation: (a) any written letter, memorandum, or otherDocument
of any kind by mail, courier, other delivery services, telecopy, facsimile, telegraph,
electronic mail, voicemail, or any other means; (b) any telephone call, whether or
not such call was by chance or prearranged, formal or informal; and (c) any
conversation or meeting between two or more Persons, whether or not such contact
was by chance or prearranged, formal or informal.

“Concerning,” “related to” or “relating to,” and “regarding” shall mean

analyzing, alluding to, concerning, considering, commenting on, consulting,
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comprising, containing, contradicting, describing, dealing with, discussing,
establishing, evidencing, identifying, involving, noting, recording, reporting on,
related to, relating to, reflecting, referring to, regarding, stating, showing, studying,
mentioning, memorializing, or pertaining to, in whole or in part.

“Document” and “documents” shall be synonymous in meaning and equal in
scope to the usage of that term in Rule 34(a), and includes “tangible things” (as that
term is used in Rule 34(a)(1)(b)), as well as anything that falls within the definition
or meaning of “electronically stored information” (as that term is used inRule
34(a)(1)(A)) or of “writings” or “recordings” in Federal Rule of Evidence 1001. A
draft or non-identical copy of a document shall be considered a separate document
within the meaning of the term “document,” as used in the Topics.

‘Dominion” means Dominion Voting Systems, Inc., its predecessors,
divisions, subsidiaries, affiliates, partnership and joint ventures, and all directors,
officers, employees, contractors, representatives, and agents thereof, and any other
person acting on its behalf or under its direction or control with respect to subject
matter of these Topics.

“Dominion Worker’ means employees, contractors, representatives, and
agents of Dominion, and any other person acting on its behalf or under its direction

or control with respect to subject matter of these Topics.
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“Electronic Pollbook” refers to the Election Systems & Software ExpressPoll,
PollPad system supplied by Knowlnk, or any other similar electronic pollbook
system.

“Election System” means every aspect of any system, device, machine,
server, computer, equipment, files, removable media (such as memory cards),
ballot-marking devices (BMDs) (including ImageCastX Ballot-Marking Devices),
BMD-adjacent equipment (including ImageCast Precinct Polling Place Scanner and
associated printers or touchscreens), the KnowInk PollPad Plus system and
associated components, software (such as any version of the Global Election
Management System (GEMS), the BallotStation software or the software associated
with the “Dominion Voting Democracy Suite” (D-Suite) and the KnowInk PollPad
Plus system used in any election in the state of Georgia, script, hardware, firmware,
software patch or update, paper, documentation, or facility (toinclude any backup of
the foregoing) used in or as part of the operation, administration, implementation,
execution, completion, preparation, facilitation, recording, processes, or procedures
of elections in the State of Georgia, including voter registration information, election
results data, DREs, BMDs, optical scanners, modems, network equipment, other
peripheral devices, any server that hosts or has hosted the GEMS software,
Dominion software, or any other election management system, or the Election Night

Reporting system, voter registration systems or databases (e.g., “eNet’”), online voter
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registration servers, electronic pollbooks and related components, administrative
credentials, the Center for Election Systems (CES) (including when it was located
at Kennesaw State University), or information related to employees, agents,
representatives, volunteers, or others acting on behalf of You, the State of Georgia,
or any county or municipality with respect to elections in the State of Georgia.
“Including” means including without limitation.

“Person” means and includes a natural person (i.e., an individual), a group of
natural persons acting as individuals, a group of individuals acting in a collegial or
concerted capacity (e.g., as a committee, a board of directors or advisors, etc.), an
association, firm, corporation, joint venture, partnership, company, governmental
unit or agency, and any other business, enterprise, or entity, unless otherwise limited
or specified in the Topics.

“You” or “Your” means and includes Georgia’s Secretary of State, any of its
predecessors, the divisions, departments, partnerships, and joint ventures of or
subject to the control of the Georgia Secretary of State, all directors, officers,
employees, contractors, consultants, representative, and agents thereof, and any

other person acting on its behalf or under its direction or control with respect to the
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subject matter of these Topics, including to the extent applicable the Georgia
Technology Authority.

INSTRUCTIONS

Pursuant to Federal Rule of Civil Procedure 30(b)(6), the Office of the
Secretary of State shall designate one or more of its officers, directors, managing
agents, employees, or other persons to testify on its behalf about the matters set forth
in the Topics set forth below. The Person(s) so designated shall be required to testify
about each of those matters known or reasonably available to the Office of the
Secretary of State. At least five days in advance of the date of deposition, the Office
of the Secretary of State is directed to provide to counsel for Plaintiffs awritten
designation of the name(s) and position(s) of the Person(s) designated to testify on

each of the following topics.

TOPICS

1. Implementation and conduct of Georgia’s statewide post-election audit of the

2020 presidential election, including the following subtopics:

a. Decision making and planning for the scope, methodology, and planned
use of the results of the audit;

b. The decision to attempt to use the audit as an “audit, recount, and recanvass
all-in-one,” and the process planned to be used for that attempt;
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c. Arrangements and communications with third parties involved in the post-
election audit, including but not limited to Voting Works, Verified Voting,
Brennan Center, and Carter Center;

d. Decisions concerning public and press access to audit activities;

e. Instructions to counties for maintaining accounting control of tally sheets
and Ballots being counted;

f. Your efforts, if any, to verify the completeness of the county tally sheets,
and the process for counties’ submission of the tally sheets to Your office
after the audit;

g. Efforts made by Your office to spot check or verify entries in the Arlo
application worksheets, or the accuracy of the final detailed audit report;

h. Your investigation of Governor Kemp’s November 17, 2021 letter to the
State Election Board regarding the Fulton County post-election audit;

i. Your communications with counties regarding the accuracy of the hand
count audit or issues raised with the counties for follow up or correction of
the audit reports;

j. Your communications with the public, the press, political parties,
legislators, and campaigns regarding the process and results of the audit;

k. Statements made by Secretary Raffensperger to the press regarding the
purpose, conduct, results and effectiveness of the audit;

]. Communications with legislators concerning potential legislative changes
to Georgia audit processes.

2. Any testing, examination, evaluation, study, analysis, assessment, or audit of

the electronic records of the November 2020 election to determine the nature and
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quantity of irregularities and errors in ballot tabulations of some ballots by the

Dominion Voting System tabulated in the official election results, including:

a. Triple counting of ballots in the Fulton County presidential election
recount;

b. Communications with Dominion concerning the multiple counting of
ballots;

c. Communications with county officials concerning the multiple counting of
ballots;

d. Internal communications in the Secretary of State’s office concerning the
multiple counting of ballots;

e. Inaccuracies in the scanning and the tabulating process in the November
2020 election and recount, including ballots that were interpreted
differently in the first tabulation and the recount.

f. Any testing, examination, evaluation, study, analysis, or investigation of
ballots counted in only one of the two official counts;

g. System configurations or settings that permitted out-of-county ballots, and
primary election ballots to be processed in Fulton County’s November
2020 general election.

3. The conduct of the November 2020 presidential recount, including:

a. Instructions to counties for the conduct of the presidential recount for the
November 2020 election, and communications with counties regarding the
accuracy of the recount and recount processes;

b. The nature of discussions with representatives of the Donald Trump
campaign or the Republican National Committee regarding the planning
of, conduct of, or results of the post election audit and the recount;
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c. communications with any person concerning double and triple counting of
votes in the recount.

4,  Georgia’s requirements to ensure absolute secrecy of the ballot and all

activities taken by You to ensure that such requirements are met, including;

a. Any policies and practices adopted, contemplated, or implemented to try
to ensure absolute secrecy of the ballot using the BMD touchscreen
machines;

b. Any testing, examination, evaluation, study, analysis, or assessment of the
extent to which absolute secrecy of the ballot is maintained when the voters
use the BMD touchscreen machines;

c. Communications with election officials in Georgia counties concerning the
BMD touchscreen machines and ballot secrecy requirements;

d. Any testing, examination, evaluation, study, analysis or assessment of the

Dominion precinct scanners recording of a timestamp associated with
every ballot as it is scanned.

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Defendants.

 

 

CERTIFICATE OF SERVICE
I certify that on January 20, 2022, Plaintiffs Coalition for Good Governance,
William Digges III, Laura Digges, Ricardo Davis and Megan Missett (“Coalition
Plaintiffs”) by and through counsel of record, served a true and correct copy of
Coalition Plaintiffs’ Amended Notice of 30(b)(6) Deposition of Georgia’s Secretary

of State on counsel of record by electronic delivery of a PDF version.

/s/ Cary Ichter
Cary Ichter

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